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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

KAAPA ETHANOL, LLC,           )
                              )
               Plaintiff,     )                 7:05CV5010
                              )
          v.                  )
                              )
AFFILIATED FM INSURANCE       )                    ORDER
COMPANY,                      )
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion to

withdraw as counsel filed by William T. Wright (Filing No. 93).

The Court notes other counsel has entered an appearance on behalf

of plaintiff and finds said motion should be granted.

Accordingly,

           IT IS ORDERED that the motion to withdraw is granted.

           DATED this 15th day of January, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
